Case 1:16-cv-02074-ELH Document 64 Filed 03/19/19 Page 1of1
Case 1:16-cv-02074-ELH Document 63-1 Filed 03/19/19 Page 1 of 1

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IN THE UNITED STATES DISTRIGT|COURT, 3. ,
FOR THE DISTRICT OF MARYLAND! (2 60 405
Northern Division — . c

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KORIN TAYLOR, ef al., py

Spite

 

Plaintiffs,
Civil Case No. 1:16-cv-02074
v.

EXPERIAN INFORMATION SOLUTIONS, INC., :

Defendant.

 

DISMISSAL ORDER

THIS DAY CAME the Plaintiffs and the Defendant EXPERIAN INFORMATION
SOLUTIONS INC., by counsel, and hereby moved the Court to dismiss with prejudice all claims
against Defendant EXPERIAN INFORMATION SOLUTIONS INC., in the above-styled action.

UPON CONSIDERATION of the representations of counsel and for other good cause
shown, it is, hereby ORDERED, ADJUDGED, and DECREED that the Complaint against
Defendant EXPERIAN INFORMATION SOLUTIONS INC is DISMISSED with prejudice.

AND THIS CAUSE IS ENDED.

Entered this _/ 7 “a of MARCH 2019.

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ELLEN L. HOLLANDER

 
